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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )         No. 4:21 CR 460 RWS
                                          )
TERRELLE MARION,                          )
                                          )
             Defendant.                   )

                                      ORDER

      IT IS HEREBY ORDERED that the sentencing hearing in this matter is

RESET to Wednesday, July 6, 2022 at 11:00 a.m. by video via Zoom from the

facility. Hearing participants received a separate email with a link to join the

hearing by Zoom. Members of the general public who wish to listen in to the

hearing are directed to call the following number to participate by phone: 1-669-

254-5252, Meeting ID: 160 670 3965. Pursuant to Local Rule 13.02, all means of

photographing, recording, broadcasting, and televising are prohibited in any

courtroom, and in areas adjacent to any courtroom, except when authorized by the

presiding judge. This includes proceedings ordered by the Court to be conducted

by phone or video.

      IT IS FURTHER ORDERED that the deadline for filing objections, if

any, to the Presentence Report as to this defendant is June 22, 2022.

      IT IS FURTHER ORDERED that no objections shall be filed after the
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deadline without leave of the Court. A request for leave to file objections out

of time must be in writing and supported by reasons for the request.

      IT IS FURTHER ORDERED that the parties shall inform the Court, in

writing, and not less than ten (10) days prior to the sentencing date, whether

testimony is to be presented at sentencing and, if so, the anticipated number of

witnesses and the estimated length of such testimony.

      IT IS FURTHER ORDERED that the parties must file any memoranda no

later than seven (7) days before sentencing date except that a response to a

sentencing memorandum may be filed no later than five (5) days before the

sentencing date.




                                          RODNEY W. SIPPEL
                                          UNITED STATES DISTRICT JUDGE
Dated this 4th day of April, 2022.




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